Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 1 of 19




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                       Case No. 22-20144-Civ-GAYLES/TORRES

  RICHARD R. FINCH,

        Plaintiff,

  v.

  HARRY WAYNE CASEY, an individual; and
  HARRICK MUSIC INC., a Florida corporation,

        Defendants.

  ___________________________________________/

                    REPORT AND RECOMMENDATION
           ON THE PARTIES’ MOTIONS FOR SUMMARY JUDGMENT

        This matter is before the Court on the parties’ cross Motions for Summary

  Judgment filed by Harry Wayne Casey (“Casey”) and Harrick Music, Inc. (“Harrick”)

  (collectively, “Defendants”) [D.E. 51], and Richard R. Finch (“Finch” or “Plaintiff”)

  [D.E. 63]. The parties filed timely responses [D.E. 72, 73] and replies [D.E. 75, 76] to

  each motion therefore the motions are now ripe for disposition. 1         After careful

  consideration of the briefing materials, the evidence of record, the relevant

  authorities, and for the reasons discussed below, we hereby RECOMMEND that

  Defendants’ Motion be GRANTED, Plaintiff’s Motion be DENIED as moot, and the

  case be dismissed with prejudice.




  1 On November 8, 2022, the Honorable Darrin P. Gayles referred all pre-trial
  non-dispositive and dispositive matters to the undersigned for disposition. [D.E. 79].


                                             1
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 2 of 19




                                  I. BACKGROUND

        This is an action for declaratory relief pursuant to Section 203 of the Copyright

  Act of 1976 (the “Act”). 17 U.S.C. § 201 et seq. Finch filed this action on November

  11, 2022, seeking a declaration that he has properly exercised his termination rights

  under § 203 with respect to a 1983 agreement whereby he allegedly transferred his

  copyright interests in ninety-nine songs to Casey. [D.E. 1]. According to Finch, the

  ninety-nine songs were co-written by him and Casey in the 1970s while they were

  members of the musical group KC & The Sunshine Band (the “Band”). [D.E. 41].

  Between the mid-1970s and early-1980s, the Band, Casey, and Finch, executed

  several musical commercial agreements, including exclusive writer’s, single song, and

  publishing agreements with Sherlyn Music Publishing Co., Inc. (“Sherlyn”). 2

  [D.E. 64-3; 64-6; 64-10]. In essence, these agreements transferred to Sherlyn a 50%

  ownership interest in the copyrights of the Band’s songs. [D.E. 64 at 2–3; 52 at 3–4].

  Further, in connection with these agreements, Casey and Finch formed a Florida

  corporation, co-defendant Harrick Music Inc. (“Harrick”), which they designated as

  their “publishing designee” and which Casey and Finch co-owned on a 50/50 basis.

  [D.E. 64 at 3].

        After several years of performing together, Casey and Finch separated in 1979

  and on October 27, 1983, they formally severed all personal and financial ties through

  the execution of an agreement titled “Property Division Agreement” (the “1983



  2 On April 27, 2022, Finch filed an amended complaint that dismissed Sherlyn’s
  successor in interest, EMI Consortium Songs Inc., as a defendant from this lawsuit
  pursuant to private settlement. [D.E. 41; 95].


                                            2
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 3 of 19




  Agreement”). [D.E. 52-6]. With the agreement, Casey and Finch divided amongst

  themselves various pieces of tangible and intangible property that they had

  previously owned together. Id. Among other things, the contract provided that, in

  exchange for valuable consideration, Finch would transfer to Casey all his titles,

  rights, and interests in any of the copyrights of their music, as well as his 50%

  ownership interest in Harrick and other Band related enterprises. [D.E. 52-1 at 96–

  98; 52-6; 64-8 at 107–09]. The agreement contains an exhibit titled “INTANGIBLES

  ASSIGNMENTS” that expressly conveyed to Casey all of Finch’s interests in any

  intangible assets, including copyrights and intellectual property. [D.E. 52-1 at 37].

  However, soon after execution of the contract Finch sought to rescind the agreement

  on grounds of fraud and incapacity, but a state court rendered judgment in favor of

  Casey, upholding the agreement’s validity and enforceability in 1986. [D.E. 52 at 5–

  6; 64-15].

        Finch tried again. In the years following the 1986 declaratory judgment, Finch

  continued to challenge Casey’s ownership over some of the Band’s songs. To settle

  this song dispute, Finch and Casey executed a settlement agreement in 2003 (the

  “2003 Agreement”). [D.E. 64-19].      In 2004, Casey return to state court seeking

  contempt sanctions against Finch for his violations of the 1986 declaratory judgment.

  The court issued a sanction order against Finch and reiterated the validity of both

  the 1983 Agreement and the 1986 declaratory judgment. [D.E. 64-24].

        Fast-forward a few years and on August 30, 2012, Finch, through his then-

  counsel Brent McBride, and pursuant to § 203(a) of the Copyright Act, served a notice




                                           3
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 4 of 19




  of termination (the “2012 Notice”) on Casey and Harrick seeking to terminate the

  copyright grants that he allegedly made to Casey through execution of the

  1983 Agreement. [D.E. 52 at 7; 64 at 9–10; 64-25]. The 2012 Notice contained an

  effective termination date of October 28, 2018. [D.E. 64-25 at 12]. Casey did not

  respond to this notice. Almost three years later, on May 7, 2015, Finch’s new lawyer,

  well regarded entertainment attorney Richard Wolfe, sent a letter to Casey’s counsel

  concerning the 2012 Notice and attaching a copy of the notice. [D.E. 52-10; 52-12 at

  10–11]. This time, Casey responded to Finch’s notice in a letter drafted by his long-

  time attorney, Franklin Zemel, on May 26, 2015. [D.E. 52-11]. Casey’s response

  directly challenged the validity of the 2012 Notice and expressly repudiated Finch’s

  claim of authorship over any of the ninety-nine songs, denying any significant

  involvement by Finch in the creation of the musical compositions. Id.

        Finch never replied to Casey’s repudiation letter and no action was taken in

  furtherance of the 2012 Notice or in opposition to Casey’s challenge to its validity.

  Instead, fast-forward another seven years to September 30, 2019, when Finch’s new

  counsel, Evan Cohen, served another notice of termination (the “2019 Notice”) on

  Casey and Harrick, wherein Finch claimed entitlement, for the second time, to

  terminate the alleged copyright transfer of the 1983 Agreement. The 2019 Notice

  displayed an effective date of termination of October 1, 2021. [D.E. 64-1]. Following

  an October 1, 2021, response from Casey’s attorney that disputed, once more, the

  validity of the termination notice, [D.E. 41-4], Finch filed this single-count lawsuit




                                            4
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 5 of 19




  seeking a declaration that he has validly exercised his termination rights under § 203

  of the Act.

        Based on these undisputed facts, both Casey and Finch have filed cross-

  motions for summary judgment.        As explained further below, we find that the

  undisputed facts warrant dismissal of Finch’s claim because, as a matter of law, his

  copyright termination action is barred the applicable statute of limitations, which

  precludes this Court from adjudicating his claim. 3 Accordingly, Defendant’s motion

  for summary judgment [D.E. 51] should be GRANTED and Plaintiff’s motion for

  summary judgment [D.E. 63] should be DENIED as moot.


                     II. APPLICABLE PRINCIPLES AND LAW

        The court shall grant summary judgment if the movant shows that there is no

  genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law:

        A party asserting that a fact cannot be or is genuinely disputed must
        support the assertion by: (A) citing to particular parts of materials in
        the record, including depositions, documents, electronically stored
        information, affidavits or declarations, stipulations (including those
        made for purposes of the motion only), admissions, interrogatory
        answers, or other materials; or (B) showing that materials cited do not
        establish the absence or presence of a genuine dispute, or that an
        adverse party cannot produce admissible evidence to support the fact.

  Fed. R. Civ. P. 56(c)(1). On summary judgment, the inferences to be drawn from the

  underlying facts must be viewed in the light most favorable to the party opposing the




  3Because Casey is entitled to judgment as a matter of law on his statute of limitations
  defense and this defense is dispositive of the case, we do not address any of the
  remaining arguments in Defendant’s motion.


                                            5
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 6 of 19




  motion. See Matsushita Electric Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 597

  (1986) (quoting another source).

        At the summary judgment stage, the Court’s function is not to “weigh the

  evidence and determine the truth of the matter but to determine whether there is a

  genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 243 (1986). In

  making this determination, the Court must decide which issues are material. A

  material fact is one that might affect the outcome of the case. See id. at 248 (“Only

  disputes over facts that might affect the outcome of the suit under the governing law

  will properly preclude the entry of summary judgment. Factual disputes that are

  irrelevant or unnecessary will not be counted.”). “Summary judgment will not lie if

  the dispute about a material fact is genuine, that is, if the evidence is such that a

  reasonable jury could return a verdict for the nonmoving party.” Id.

                                     III. ANALYSIS

        The predicate question before the Court is relatively straightforward: whether

  Finch’s declaratory judgment action under § 203 of the Copyrights Act falls outside

  the act’s three-year limitations period.   Defendant’s motion argues that it does.

  According to Casey, the statute of limitations on Finch’s lawsuit elapsed in May 2018,

  which renders this lawsuit—commenced in November 2022—untimely. [D.E. 51

  at 9]. Specifically, Casey highlights that copyright claims that turn on ownership, or

  authorship (as opposed to infringement), accrue only once. In Finch’s case the accrual

  point happened in May 2015, when Casey’s lawyer sent a response letter to Finch’s




                                             6
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 7 of 19




  attorney expressly invalidating the 2012 Notice of Termination and challenging

  Finch’s claim of authorship over the ninety-nine songs. Id. at 10–11.

        Finch, on the other hand, opposes summary judgment on Defendant’s statute

  of limitations defense, primarily on two grounds. [D.E. 72]. First, Finch argues that

  Casey’s statute of limitations defense is itself time-barred and, as such, cannot be

  considered by this Court. In doing so, Plaintiff essentially asks this Court to treat

  Casey’s Rule 8(c) affirmative defense as a counterclaim that sounds on copyright

  ownership, as to make it subject to the Act’s three-year limitations period. Id. at 4–

  6. Second, Finch asserts that, under Eleventh Circuit precedent, the May 2015

  response letter that Casey sent to Finch’s lawyer was not sufficient to place Finch on

  notice of Casey’s claim of sole authorship, which means that the statute of limitations

  on Finch’s claim could not have started ticking in 2015. Id. at 7–9. Implicitly, Finch

  seems to suggest that his § 203 claim could not have accrued prior to the effective

  date of termination outlined in his 2019 Notice. If that is the case, then Casey’s

  summary judgment premised on his statute of limitations defense cannot succeed.

         A.    Casey’s Statute of Limitations Defense is not Time-Barred

        We start by addressing Finch’s first argument in opposition to Casey’s motion

  for summary judgment; namely, that this Court cannot consider Casey’s Rule 8(c)

  statute of limitations defense because this defense is itself untimely. Plaintiff asks

  the Court to overlook the fact that his lawsuit may fall outside the time limits

  prescribed by the Copyright Act, and instead focus on preventing Defendant from

  asserting his statute of limitations defense because it is itself time barred. Plaintiff’s




                                              7
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 8 of 19




  convoluted argument on this score, which is devoid of much supporting authority,

  fails to persuade us why the limitations period on his original claim has not run.

        For starters, Plaintiff’s argument misconstrues the nature of Casey’s Rule 8

  affirmative defense. According to Plaintiff, “[t]he gravamen of Casey’s first ground

  for summary judgment is that Finch cannot prevail in his claim for declaratory relief

  because the Notice of Termination is invalid on the ground that Finch is not an

  author.” [D.E. 72 at 3]. Not so. Defendant’s first ground for summary judgment is

  that Plaintiff failed to file suit within three years after his § 203 claim accrued,

  rendering his November 2022 lawsuit untimely. See 17 U.S.C. § 507(b) (“No civil

  action shall be maintained under the provisions of this title unless it is commenced

  within three years after the claim accrued.”).

        Yet, Plaintiff repeatedly, and confusingly, conflates the substance of Casey’s

  response letter to the 2012 Notice—which disputed authorship—with the statute of

  limitations defense asserted in Casey’s Answer, and then proceeds to portray Casey’s

  defense as a claim or counterclaim that this Court should subject to the Act’s three-

  year statute of limitations. [D.E. 72 at 4] (“[t]he question of whether Casey currently

  has a timely ‘sole authorship’ claim is crucial”) (third emphasis added). We find no

  basis to accept Finch’s self-serving description of Casey’s limitations defense as a

  “claim.” Casey’s motion for summary judgment is premised on his fourth affirmative

  defense (“Claim Barred by Statute of Limitations”), not his third one (“Not an

  Author”), [D.E. 42 at 6], and Finch fails to cite a single analogous case supporting this

  arbitrary reformulation of Casey’s statute of limitation argument. See id. at 4–6. As




                                             8
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 9 of 19




  noted earlier, Casey’s limitations theory is asserted in his answer to Plaintiff’s FAC

  pursuant to Rule 8(c), and does not seek damages or any other affirmative relief from

  Plaintiff. [D.E. 42 at 6]. That is significant. See Estate of Hogarth v. Edgar Rice

  Burroughs, Inc., 342 F.3d 149, 163 (2d Cir. 2003) (“A defendant who is not seeking

  any affirmative relief and who asserts a defense only to defeat a plaintiff’s claim is

  not barred by a statute of limitations”); U.S. for Use of Bros. Builders Supply Co. v.

  Old World Artisans, Inc., 702 F. Supp. 1561, 1569 (N.D. Ga. 1988) (stressing the

  “common law rule that statutes of limitations do not run against pure defenses”).

           While Plaintiff urges this Court to ignore the “general rule that a statute of

  limitations does not bar mere defenses as distinct from counterclaims,” Everly v.

  Everly, No. 3:17-CV-01440, 2020 WL 5642359, at *9 (M.D. Tenn. Sept. 22, 2020),

  nothing in Finch’s brief or the available record persuasively lead us to that conclusion.

  Indeed, the very same cases on which Plaintiff purports to rely underscore the

  weakness of his arguments with respect to both the application of statute of

  limitations to affirmative defenses and the accrual of a copyright ownership claims.

           For instance, Plaintiff cites to Complex Systems, a case that dealt with a

  copyright infringement claim where the defendant asserted a joint ownership defense

  that was predicated on an alleged ownership interests belonging to a third, non-party

  actor.    Complex Sys., Inc. v. ABN Ambro Bank N.V., 979 F. Supp. 2d 456, 473

  (S.D.N.Y. 2013). Besides the glaring factual differences between that case and the

  one at hand, including the role of non-parties and the absence of a statute of

  limitations defense, the court in Complex Systems actually rejected Finch’s theory by




                                              9
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 10 of 19




   expressly noting that if it were the non-party asserting the joint ownership defense,

   the defense would be allowed to proceed even though the claim would not be allowed

   if it were seeking affirmative relief. Id. at 474 (“Put another way, if IT were the

   defendant to this [] case, it may very well be able to assert that it cannot infringe that

   which it owns. That affirmative defense may or may not prevail, but it would be

   allowed”); see also Scorpio Music (Black Scorpio) S.A. v. Willis, No. 11CV1557 BTM

   RBB, 2013 WL 790940, at *3 (S.D. Cal. Mar. 4, 2013) (involving a counterclaim rather

   than a defense, and observing that the Act’s statute of limitations bars § 203

   termination claims “brought more than three years after plain and express

   repudiation of the ownership claim.”).

         This is not a case in which Casey can be deemed to be a defendant in an

   aggressor’s posture, trying to use an affirmative defense as a sword rather than a

   shield to disturb some long-lasting status quo between the parties. Cf. Donald Everly

   v. Everly, 536 F. Supp. 3d 276, 283–84 (M.D. Tenn. 2021) (barring affirmative defense

   that mirrored defendants’ ownership counterclaim, where defendants “sought to

   topple the status quo under which [plaintiff] had been operating since 1980”). As

   noted above, Casey has not pled counterclaims, nor is he seeking any damages or

   affirmative relief from Finch. Moreover, the underlying facts in this case indicate

   that it is Finch who has engaged in repeated efforts, some of which date back to the

   1980s, to disturb or attack the existing state of affairs established by the parties

   through execution of their 1980 and subsequent agreements. In this respect, we are

   at a loss to see how this long and adversarial historical backdrop between the parties,




                                              10
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 11 of 19




   which according to Finch imputes to Casey unclean hands that should preclude him

   from even asserting a statute of limitations defense, does not likewise bar Finch from

   continuing to prosecute this stale, protracted and long-lasting dispute.

         In sum, Plaintiff’s claim that this Court should not consider Casey’s statute of

   limitations defense because this defense is itself time-barred, is legally unsound and

   unpersuasive. Not only does Finch mischaracterize the nature of Case’s asserted

   defense, but it also cherry-picks authorities that, when properly read, lend more

   support to Casey’s arguments than to Finch’s. Accordingly, the Court finds no basis

   for preventing Casey from asserting his statute of limitations defense. We thus must

   address the merits of that defense based on the existing record.

          B.    Finch’s § 203 Lawsuit is Barred by the Act’s Statute of Limitations

         Next, we turn to Casey’s argument that Finch’s lawsuit is barred by the Act’s

   statute of limitations. Because the undisputed facts show that, as a matter of law,

   Finch’s § 203 claim accrued no later than May 2015, this lawsuit is barred by the

   Act’s three-year limitations period, and Defendant is entitled to summary judgment

   on his statute of limitations defense.

         The Copyright Act provides authors with termination rights, which allow them

   to terminate “the exclusive or nonexclusive grant of a transfer or license of copyright

   or of any right under a copyright.” 17 U.S.C. § 203(a) (providing right to terminate

   post-1978 grants between thirty-five and forty years after the grant). Under the Act,

   authors are thus entitled to terminate certain grants and recapture ownership in

   their works after a period of time. § 203 provides for the effectuation of a termination




                                             11
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 12 of 19




   by service of “an advance notice in writing, signed by the number and proportion of

   owners of termination interests required under clauses (1) and (2) of this subsection,

   or by their duly authorized agents, upon the grantee or the grantee’s successor in

   title.” Id. § 203(a)(4). The notice must state an effective date of termination and

   must be served not less than two or more than ten years before that date. Id.

   “However, regardless of the effective date, under § 203(b)(2), ‘[t]he future rights that

   will revert upon termination of the grant become vested on the date the notice of

   termination has been served.’” Baldwin v. EMI Feist Catalog, Inc., No. 11-81354-CIV,

   2012 WL 13019195, at *2 (S.D. Fla. Dec. 11, 2012) (emphasis in original).

         Furthermore, all copyright claims are subject to a three-year statute of

   limitations. Section 507(b) provides that “[n]o civil action shall be maintained under

   the provisions of this title unless it is commenced within three years after the claim

   accrued.” Claims for infringement and claims for ownership are subject to different

   accrual standards. A claim that sounds in ownership, as in this case, “accrues only

   once”: at the point in time when plaintiff “knew, or reasonably should have known,

   that his ownership rights [] were being violated.” Webster v. Dean Guitars, 955 F.3d

   1270, 1276 (11th Cir. 2020); see also Kwan v. Schlein, 634 F.3d 224, 228 (2d Cir. 2011)

   (“An ownership claim accrues only once, when ‘a reasonably diligent plaintiff would

   have been put on inquiry as to the existence of a right.’”); Santa-Rosa v. Combo

   Records, 471 F.3d 224, 228 (1st Cir. 2006) (“[A] claim for declaratory judgment of

   ownership accrues when the plaintiff ‘knew of the alleged grounds for the ownership

   claim.’”), cert. denied, 550 U.S. 926 (2007).




                                              12
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 13 of 19




         Given this well-established principle, we are bound to agree with Casey that

   the undisputed facts show that Finch’s lawsuit falls outside § 507(b)’s limitations

   period. As a threshold matter, we start by noting that Plaintiff fails to affirmatively

   dispute that Mr. Wolfe was his attorney and acted in that capacity on May 7, 2015,

   when he sent the termination notice to Casey’s counsel. Although Plaintiff attempts

   to suggest a dispute of material fact with regards to this attorney-client relationship,

   any purported “dispute” on this fact would be limited to Plaintiff’s alleged lack of

   recollection of Mr. Wolfe’s retention during his deposition. [D.E. 52-1 at 24–27] (“Q.

   Okay. And do you know another lawyer named Richard Wolfe? A. Vaguely. Those

   were not good times for me”; “Q. Okay. But you don’t remember hiring Richard Wolfe

   to act as you lawyer? A. Probably I don’t remember, because that whole thing was

   ineffective and, yeah, I don’t -- yeah, I don’t know how to answer you correctly[.]”).

   This non-denial denial is plainly insufficient to create a dispute of fact, particularly

   in light of the fact that other parts of the uncontroverted record affirmatively

   establish that Mr. Wolfe was indeed Finch’s attorney. [D.E. 52-10 at 2] (“We have

   been asked to represent Richard Finch in connection with his 17 U.S.C. § 203

   termination rights. . . . Please address all further communications relating to Mr.

   Finch to me.”); [D.E. 52-12 at 11] (“Q. I appreciate that. But when you wrote this

   letter, was it your understanding you were also representing Mr. Finch? A. Yes.”);

   [D.E. 64-8 at 174–175] (conceding that “Mr. Zemel had sent a letter back to Mr.

   Finch’s attorney, saying ‘you know what?’ Finch was never an author.”); [D.E. 52-12

   at 6] (“MR. WEISS: We’re going to be asserting the attorney/client privilege on any




                                             13
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 14 of 19




   communications that are taking place -- that took place between Richard, and Finch,

   and his attorneys. MR. ZEMEL: That includes Richard Wolfe as one of his attorneys?

   MR. WEISS: That is correct.”).

         It is likewise undisputed that Casey’s May 26, 2015, response to Finch’s

   termination notice clearly and expressly disputed Finch’s authorship claim, as well

   as his corollary termination rights under § 203. [D.E. 71 at 3]. In pertinent part,

   Casey’s repose letter stated the following:

         At no time was Finch an “author” of the music under the Copyright Act.
         The U.S. Supreme Court defines “author” as “the party who actually
         created the work, that is, the person who translates an idea into fixed,
         tangible expression entitled to copyright protection.” Finch did not
         actually create the songs Casey wrote for KCSB and Finch did not
         contribute any significant copyrightable material to those songs.
         Accordingly, Finch would have the burden of proof of establishing his
         status as an “author”, not just one with whom Casey shared credit. He
         therefore has no termination rights under Section 203(a), as explained
         below.

   [D.E. 52-11 at 2].

         According to Finch, however, these undisputed facts were not enough to trigger

   the statute of limitations on his termination claim back in May 2015. Purporting to

   rely on the Eleventh Circuit’s holding in Webster, Finch claims that Casey cannot

   “establish that when his lawyer sent that letter [to Mr. Wolfe] in 2015 ‘repudiating’

   Finch’s co-authorship, a reasonable person in Finch’s position would have ‘learned

   that his rights were being violated’ as required under the Webster accrual approach.’”

   [D.E. 72 at 7–8]. This too is plainly incorrect as Finch’s reliance on Webster is utterly

   misplaced for several reasons.




                                              14
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 15 of 19




         For starters, Finch fails to understand the court’s holding. Finch suggests that

   under Webster a written and express repudiation of one’s copyright ownership, as the

   one in this case, will not suffice to trigger accrual of an ownership derivate claim for

   statute of limitations purposes. This follows from Finch’s confused reading of the

   court’s discussion about the two accrual approaches applied to ownership claims by

   different Circuit Courts. See Webster, 955 F.3d at 1276 (observing that the Sixth and

   Nineth Circuits apply the “repudiation test”, whereas the First, Second, Fifth, and

   Seventh apply what is known as the “discovery rule”). Although the Eleventh Circuit

   in Webster adopted the discovery rule rather than the repudiation approach for

   determining accrual in the ownership context, this does not mean, as Finch suggests,

   that direct statements from one party to the other claiming exclusive authorship—

   and, hence, repudiating ownership—cannot constitute a valid form of notice for the

   purposes of § 507(b) accrual. 4 To the contrary, as Webster itself made clear, a

   communication expressly repudiating plaintiff’s ownership claim can, and does,

   sufficed to trigger accrual of a copyright ownership derivate claim:

         Webster had reason to know that his alleged ownership rights were
         being violated as early as 2004, when he first learned that Dean was
         producing DFH reissues. But if that were not sufficient to put him on
         notice that his rights were being violated, Rubinson’s email in 2007

   4 Without exploring what the “repudiation rule” means, Finch improperly conflates
   this with any means of repudiation, including direct and express statements of
   exclusive authorship from one party to the other. [D.E. 72 at 7–8]. However, to say
   that Webster forecloses all forms of repudiation in general from triggering accrual of
   an ownership related claim completely distorts the ruling. Instead, it is more
   accurate to say that in bypassing the “repudiation rule”, the court simply steered
   away from less straightforward methods of repudiation that have been deemed
   sufficient under that rule in other jurisdictions. See, e.g., Aalmuhammed v. Lee, 202
   F.3d 1227, 1231 (9th Cir. 2000) (authorship sufficiently repudiated when movie
   credits listed plaintiff far below the more prominent names).


                                             15
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 16 of 19




         stating that “the consensus concerning [the lightning storm graphic] is
         that [Abbott’s] estate is the legal owner of it” was certainly sufficient.

   Webster, 955 F.3d at 1276 (finding that ownership claim was barred by the statute of

   limitations, and reaffirming grant of summary judgment in favor of defendant)

   (emphasis added).

         As in Webster, the record here indicates that Casey sent a letter in response to

   Finch’s notice of termination to Finch’s attorney in May 2015, and that such response

   letter expressly and directly called into question Finch’s claim of authorship over the

   songs, as well as his right to effectuate termination under § 203. That was “certainly

   sufficient” to place Finch on notice that Casey was affirmatively challenging his

   authorship and termination rights over these songs.         See id.; 5 see also Caracol

   Television, S.A. v. Telemundo Television Studios, LLC, No. 18-CV-23443, 2021 WL

   243695, at *6 n.7 (S.D. Fla. Jan. 25, 2021) (Gayles, J.), aff'd, No. 21-10515, 2022 WL

   202546 (11th Cir. Jan. 24, 2022) (“it is likely that Caracol’s copyright claims [] are

   barred by the Copyright Act’s three-year statute of limitations. See 17 U.S.C. § 507(b).

   Caracol learned that Telemundo claimed complete ownership in the copyright of the

   Subsequent Seasons and Spinoff in August 2014, [via letter sent to plaintiff’s

   attorney, which repudiated plaintiff’s ownership claim], but did not file this action

   until August 23, 2018.”).




   5 Something that Plaintiff seemed to concede in his original complaint, but omitted
   from his FAC. See [D.E. 1 ¶ 33] (observing that with their responses “Casey and
   Harrick have stated their clear intent to not honor the Notice served by Finch,
   regarding any works, and Casey and Harrick have thereby created an actual and
   immediate disagreement with Finch”) (emphasis added).


                                             16
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 17 of 19




          Turning to Finch’s implied suggestion that an action for termination rights

   under § 203 cannot accrue prior to the notice’s effective date of termination, our

   review of the law shows otherwise. Indeed, this argument was expressly rejected by

   this district court in Baldwin v. EMI Feist Catalog, Inc., No. 11-81354-CIV, 2012 WL

   13019195, at *1 (S.D. Fla. Dec. 11, 2012). In Baldwin, the court refused to grant a

   motion to dismiss for lack of ripeness in a lawsuit seeking declaratory judgment

   under § 203. The defendant in Baldwin argued that plaintiff’s declaratory action was

   subject to dismissal because “claims based on a notice of termination under § 203 do

   not ‘accrue’ until the effective date of the notice,” and, since the effective date of the

   relevant notices had not yet passed, plaintiff did not have an actionable cause of

   action. Id. at *2. The court rejected defendant’s argument, and found that as soon

   as defendant repudiated plaintiff’s notice of termination in writing, plaintiff was

   provided with an actionable lawsuit regarding the validity of his notices, and this

   lawsuit was one the court had jurisdiction to adjudicate:

          By purporting to serve a valid § 203 notice upon Defendant, which notice
          Defendant has repudiated, Plaintiffs have created a controversy as to
          whether “[t]he future rights that will revert upon termination of the
          grant [have] become vested,” as provided by the statute. 17 U.S.C. §
          203(b)(2). This controversy is therefore ripe and non-speculative, and
          the Court has jurisdiction to adjudicate it.

   Id. at *3.

          Based on these precedents and the undisputed facts, it is evident that Finch’s

   claim for termination under § 203 accrued in May 2015, when Casey sent a response

   letter to Finch’s lawyer expressly challenging Finch’s claim of authorship over all

   ninety-nine songs, as well as his corollary right to termination. However, because



                                              17
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 18 of 19




   Finch did not file this lawsuit until November 11, 2022, his claim is barred by the

   Act’s three-year statute of limitations. And Finch has not pointed us to any holding,

   in this Circuit or elsewhere, that undermines this established principle.

            In sum, having found no genuine issues of material fact, we hold that Casey is

   entitled to judgment as a matter of law because Finch’s original declaratory judgment

   action is now time-barred. We recommend that summary judgment by granted in his

   favor.

                                     IV. CONCLUSION

            For the foregoing reasons, the Court RECOMMENDS that Defendant’s

   Motion for Summary Judgment on his statute of limitations defense [D.E. 51] be

   GRANTED, and that Plaintiff’s cross Motion for Summary Judgment [D.E. 63] be

   DENIED as moot.

            Pursuant to Local Magistrate Rule 4(b) and Fed. R. Civ. P. 73, the parties have

   fourteen (14) days from service of this Report and Recommendation within which to

   file written objections, if any, with the District Judge. Failure to timely file objections

   shall bar the parties from de novo determination by the District Judge of any factual

   or legal issue covered in the Report and shall bar the parties from challenging on

   appeal the District Judge’s Order based on any unobjected-to factual or legal

   conclusions included in the Report. 28 U.S.C. § 636(b)(1); 11th Cir. Rule 3-1; see, e.g.,

   Patton v. Rowell, 2017 WL 443634 (11th Cir. Feb. 2, 2017); Cooley v. Commissioner

   of Social Security, 2016 WL 7321208 (11th Cir. Dec. 16, 2016).




                                               18
Case 1:22-cv-20144-DPG Document 96 Entered on FLSD Docket 01/18/2023 Page 19 of 19




         DONE AND SUBMITTED in Chambers at Miami, Florida, this 18th day of

   January, 2023.

                                            /s/ Edwin G. Torres
                                            EDWIN G. TORRES
                                            United States Magistrate Judge




                                       19
